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 6   Attorneys for Defendant WESTERN GOVERNORS UNIVERSITY
 7
 8                           UNITED STATES DISTRICT COURT
 9                        SOUTHERN DISTRICT OF CALIFORNIA
10
11   LINDSEY MACK, an individual,         ) CASE NO.: '23CV1842 RBM MSB
                                          )
12                                        )
                      Plaintiffs,         ) DECLARATION OF SARAH HOOK IN
13                                        )
           vs.                            ) SUPPORT OF DEFENDANT
14                                        ) WESTERN GOVERNORS
     WESTERN GOVERNORS                    ) UNIVERSITY’S NOTICE OF
15   UNIVERSITY, a Nonprofit              )
                                            REMOVAL
16
     Corporation, and DOES 1 through 20, ))
     inclusive,                           )
17                                        )
                      Defendants.         ) Action Filed:  August 31, 2023
18                                        )
                                          ) Date Removed: October 6, 2023
19                                        )
                                          )
20
21         I, Sarah Hook, declare and state as follows:
22         1.    I am employed by WESTERN GOVERNORS UNIVERSITY (“WGU”) as
23   the Director of the Office of General Counsel. I have been employed at WGU since May
24   2020 and have held this position since April 2022. I am familiar with WGU’s business
25   operations. In my capacity of Director of the Office of General Counsel, I have access to
26   information and data regarding WGU’s operations in Utah and California.
27   ///
28   ///

     CASE NO.                                    1    DECLARATION OF SARAH HOOK
                                                           IN SUPPORT OF REMOVAL
     Case 3:23-cv-01842-RBM-MSB Document 1-2 Filed 10/06/23 PageID.13 Page 2 of 3


 1         2.    The matters set forth in this declaration are based on my own personal
 2   knowledge and, if called upon as a witness, I could and would testify competently
 3   thereto. To the extent this declaration is based upon business records, those records are
 4   kept in the regular course of business, entries are made in those records in a timely
 5   manner by people with knowledge of the information being entered, and it is the regular
 6   practice of WGU to maintain such records.
 7         3.    Defendant WGU is a non-profit corporation organized under the laws of the
 8   State of Utah. Since Plaintiff’s employment, including the date of the Complaint, WGU
 9   has maintained the same non-profit corporate status. As of date of this Notice of
10   Removal, WGU’s status remains the same. A true and correct copy of WGU’s Statement
11   of Information Corporation is attached as Exhibit E to the Declaration of Alison L.
12   Lynch (“Lynch Decl.”) filed concurrently with this Notice of Removal.
13         4.    At the time of the filing of the Complaint, WGU’s headquarters and
14   principal place of business was in Salt Lake City, Utah. As of the date of this Notice of
15   Removal, WGU’s headquarters and principal place of business remain in Salt Lake City,
16   Utah. From the executive and administrative offices at this location, WGU’s officers
17   direct, control, and coordinate its nationwide services and overall business operations.
18   WGU’s corporate officers perform their primary fundamental operations out of Utah, not
19   California. [Exhibit E]
20         5.    I have access to personnel and payroll records for WGU’s employees. I
21   have reviewed these records for Plaintiff Lindsey Mack. At the time of her alleged
22   termination on September 26, 2022, Plaintiff Lindsey Mack was earning an annual base
23   salary of $51,480.
24   ///
25   ///
26   ///
27
28

     CASE NO.                                    2    DECLARATION OF SARAH HOOK
                                                           IN SUPPORT OF REMOVAL
     Case 3:23-cv-01842-RBM-MSB Document 1-2 Filed 10/06/23 PageID.14 Page 3 of 3


 1            I declare under penalty of perjury under the laws of the United States and the State
 2   of California that the foregoing is true and correct. Executed on October 5 ~2023, at
 3   )},t l} ~ lA.lu.. Ct½[ , Utah.
 4

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 6                                            SARAHHOOK
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     CASE NO.                                        3     DECLARATION OF SARAH HOOK
                                                                IN SUPPORT OF REMOVAL
